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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                          (Greenbelt Division)

REAL TIME MEDICAL SYSTEMS, INC.

                        Plaintiff,

           v.
                                                     Case No: 8:24-cv-00313 PX

 POINTCLICKCARE TECHNOLOGIES,
 INC. d/b/a POINTCLICKCARE

                        Defendant.

                 PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff Real Time Medical Systems, Inc. (“Real Time”), by undersigned counsel,

submits the following Motion for Preliminary Injunction. Real Time seeks to enjoin PCC’s

renewed attempts to block Real Time from accessing patient healthcare data belonging to their

shared customers, skilled nursing facilities (“Nursing Facilities”), who store their patients’ data

and health information with PCC. Although these Nursing Facilities have expressly authorized

Real Time to access their patient records and data, PCC has improperly and illegally blocked that

access in order to gain an advantage over its competitor, Real Time. If PCC’s conduct is not

enjoined, Real Time will be unable to fulfill its contractual obligations to the Nursing Facilities,

will be forced out of business, and will ultimately cease to exist as a business before this lawsuit

reaches a verdict—thereby allowing PCC to advance its competitive service to Real Time’s

Nursing Facilities upon Real Time’s forced departure from the marketplace Worse on a human

level, PCC’s actions will cause needless patient suffering, including otherwise-preventable

hospitalizations and deaths.

       Real Time hereby incorporates its Memorandum in Support of this Motion and Exhibits

thereto.
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        WEREFORE, for reasons stated herein, in the Memorandum in Support and Exhibits, the

procedural requirements for the issuance of a preliminary injunction are satisfied: Real Time is

likely to succeed on the merits of at least one, if not all, of its claims, Real Time is likely to

suffer irreparable harm in the absence of immediate injunctive relief, the balance of the equities

weighs overwhelmingly in Real Time’s favor, and the public interest favors issuance of an

injunction. Accordingly, this Honorable Court should grant the relief requested and issue a

Preliminary Injunction and order such other further relief as the Court deems appropriate.



Dated May 30, 2024                              Respectfully submitted,


                                                RIFKIN WEINER LIVINGSTON, LLC

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                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 30th day of May, 2024 a copy of the foregoing was served on

Defendant’s counsel via the CM/ECF System and via e-mail as follows:

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